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                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA         )
                                 )
                                 )
v.                               )    Case No. 21-cr-00083-TNM
                                 )
BRANDON FELLOWS,                 )
                                 )
                                 )
               Defendant         )
                                 )



                MOTION TO WITHDRAW APPEARANCE




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      NOW COMES William L. Shipley and moves this Honorable Court to

allow him to withdraw his appearance as counsel and appoint counsel for the

following reasons:

   1. Defendant Fellows informed undersigned that he was terminating him as

      standby counsel and requested he withdraw from the case.

   2. Undersigned is only severing as standby counsel; therefore, replacing

      undersigned with appointed counsel will not cause any updo delay to

      Defendant Fellows.

   3. During the June 22 status conference, this Court denied undersigns

      prior motion to withdraw without prejudice. The purpose of having

      undersigned was to ensure Defendant Fellows had the ability to file

      materials via ECF.

   4. Since, all pretrial motions and filing deadlines have passed, therefore,

      undersign is no longer needed.

      WHEREFORE, undersigned counsel requests that he be allowed to

withdraw his appearance as counsel in this matter.



Dated: August 15, 2023               Respectfully submitted,

                                     /s/ William L. Shipley
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